Case 8:13-cv-00454-JLS-AN Documenti1 Filed 03/19/13 Page 1 of 16 Page ID#:1

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5959 Topanga Canyon Boulevard, Suite 220
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TEL: (310) 477-5811

FAX: (310) 477-7672

Attorneys for Plaintiff
JON VAN DYKE

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JON VAN DYKE, an Individual,

Plaintiff,

LIONS GATE ENTERTAINMENT INC.,
a Corporation; FRIENDS MEDIA, LLC, a
Limited Liability Company; and DOES |
through 20, Inclusive,

Defendant(s).

 

CASE NO. SACV/3-Y S54 IST
COMPLAINT FOR DAMAGES FOR:
cE

Declaratory Relief

Accounting

Quantum Meruit

Breach of Contract

Recission

Failure to Pay Overtime Wages in

Violation of the Fair Labor

Standards Act;

7. Failure to Pay All Straight Time
and/or Overtime Wages in
Violation of the California Labor
Code;

8. Waiting Time Penalties; and

9. Unlawful Business Practices

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DEMAND FOR JURY TRIAL

 

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COMPLAINT FOR DAMAGES

I

 
Case 8:13-cv-00454-JLS-AN Document 1 Filed 03/19/13 Page 2 0f16 Page ID#:2

 

COMES NOW, Plaintiff JON VAN DYKE, alleges as follows:

° I. JURISDICTION AND VENUE

° l. This is an action arising under the Fair Labor Standards Act 29 U.S.C. §§
‘ 201-216.

° 2. This Court has jurisdiction over Plaintiff's FLSA claim pursuant to 29

° U.S.C. § 216(b) and 28 U.S.C. § 1331.

’ 3. This Court has exclusive jurisdiction over this action under 28 U.S.C.

® §§1331 and 1338 in that this action involved claims arising under the Copyright Laws

9 of the United States. To the extent that his action is based on related state claims, the
10 Court has supplemental jurisdiction thereto under 28 U.S.C. §1367.

' 4, Venue is proper in this district pursuant to 28 U.S.C. §1391 and 1400 in
2 that Defendants transact business in Los Angeles County, California.

3 5. Further, this Court has supplemental jurisdiction over Plaintiff's
4 California Labor Code claims pursuant to 28 U.S.C. § 1367 because those claims
IS derive from a common nucleus of operative facts.

l6 6. Venue is proper in the United States District Court for the Central
'7 | District of California because a substantial part of the acts or omissions giving rise to
18 the claims alleged herein occurred within this judicial district.

9 7. The Court has personal jurisdiction over Defendant pursuant to
20 California Code of Civil Procedure § 410.10 because Defendant is doing business in
71 the State of California, has committed acts or omissions in California with respect to
22 one or more causes of action arising from these acts or omissions, and/or has caused
?3 | effects in California with respect to one or more causes of action arising from these
24 | effects.
25 Il. PARTIES
*6 8. Plaintiff JON VAN DYKE (hereinafter referred to as “Plaintiff’) is, and
7 at all times mentioned herein was, a resident of the State of California, citizen of the
a United States of America.

COMPLAINT FOR DAMAGES
2

 

 

 
Case 8:13-cv-00454-JLS-AN Document 1 Filed 03/19/13 Page 3o0f16 Page ID#:3

—

 

“FRIENDS MEDIA” or “Defendant”) is a Limited Liability Company organized
4 under the laws of the State of California. Defendant LIONS GATE
5 ENTERTAINMENT INC. (hereinafter referred to as “LIONS GATE”) is a
6 Corporation doing business in the County of Los Angeles, California. FRIENDS
7 || MEDIA and LIONS GATE are hereinafter collectively referred to as “Defendants.”

8 10. Upon information and belief, the business activities of Defendant are
g ||those to which the Fair Labor Standards Act applies.

10 11. Additionally, upon information and belief, Defendant’s gross sales or
11 |jbusiness exceeded $500,000 annually during each of the years that Plaintiff was
12 |;}employed by Defendant, thereby bringing Defendant’s business activities within the
13 || purview of the Fair Labor Standards Act.

14 12. Defendant is responsible for the acts and omissions of employees of
15 || FRIENDS MEDIA, LLC acting within the course and scope of their employment.

16 Ill. GENERAL ALLEGATIONS

17 13. In or about January 2010, Plaintiff was employed (and had been
18 |}employed since 2006) as director of the media department of the Yorba Linda Friends
19 || Church (“hereinafter referred to as “YLFC”).

20 14. In or about that time period, Brent Martz (“hereinafter referred to as

21 || “Martz”) was Plaintiff's supervisor.

22 15. On or about January 6, 2010, FRIENDS MEDIA entered into an
23 agreement with Plaintiff (hereinafter referred to as the “Agreement”) to secure the
“4 rights to a screenplay written by Plaintiff (hereinafter referred to as the “Screenplay”).
25 Suspiciously, Martz was deemed to be co-author of the Screenplay in the Agreement
°6 and was paid 50 percent of the compensation therefor, when in fact, he had not made
i: any copyrightable (or other substantive) contributions to the Screenplay.

COMPLAINT FOR DAMAGES
3

 

 

9. Defendant FRIENDS MEDIA, LLC (hereinafter referred to as

 
Case 8:13-cv-00454-JLS-AN Document1 Filed 03/19/13 Page 4of16 Page ID#:4

16. Moreover, Martz was in position to and did exercise undue influence
3 and/or coercion in connection with the execution of the Agreement i.e., Plaintiff was
4 told by Martz that Plaintiff would lose his job with YLFC if he did not sign the
5 Agreement.
6 17. Thereafter, for a period of approximately two and a half years, Plaintiff
7 || worked two (2) full time jobs: one for YLFC and one for FRIENDS MEDIA. The
g ||latter employment was as writer and director of the film entitled “Not Today”
g || (hereinafter referred to as the “Film”).
10 18. Although attempts were made to negotiate a written agreement between
11 || FRIENDS MEDIA and Plaintiff for the rendition of Plaintiff's services as director of
12 ||the Film, no agreement was consummated. Plaintiff received no compensation for his
13 ||services as director of the Film.
14 19. Plaintiff is entitled to “contingent compensation” in connection with the
15 || Film. Those rights were significantly impaired when the budget was mysteriously, and
16 || on information and belief, fraudulently increased from $650,000.00 to $1.8 million by
17 || FRIENDS MEDIA.
18 20. In the event that it is determined that Plaintiff was not an “employee” of
19 || FRIENDS MEDIA then Plaintiff is either sole author or a joint author of the Film and
20 |lis entitled to either sole ownership of the copyright in the Film or co-ownership
7! | thereof,
22 21. After the Film was completed, Plaintiff again raised the issue of
23 compensation for his director services and requested an accounting with respect to the
* approximately one million increase in the budget; he was unceremoniously terminated
° shortly thereafter.
*6 22. Upon information and belief, LIONS GATE has acquired an interest in
a the Film and intends to exploit and/or distribute the Film.
8 23. In the alternative, Plaintiff was employed by FRIENDS MEDIA from
COMPLAINT FOR DAMAGES
4

 

 

 
Case 8:13-cv-00454-JLS-AN Document 1 Filed 03/19/13 Page 5of16 Page ID#:5

 

2010 to 2012. While employed by Defendant, Plaintiff regularly worked in excess of
3 forty hours per week without receiving regular or overtime compensation.

4 24. Federal and state wage laws mandate that all employees be timely paid
5 all wages for all hours worked, including overtime compensation. Unless proven to be
6 |}exempt from the protection of overtime laws, all employees are entitled to overtime
7 ||pay for work in excess of forty hours per week.

8 25. Defendant terminated Plaintiffs employment on or before August 9,
g ||2012, and has failed to provide Plaintiff with regular and overtime compensation for
19 {| work performed during the course of Plaintiff's employment.

11 26. Plaintiff therefore brings this action to recover unpaid overtime
12 ||Compensation pursuant to the Fair Labor Standards Act of 1938, as amended, 29
13 || U.S.C. § 201 et seg. “FLSA” or the “Act”).

14 27. Plaintiff also brings this action pursuant to the California Labor Code to
15 ||recover unpaid wages, including premium overtime compensation for all hours
16 || worked.

17 28. Although the FLSA provides for certain exemptions to the mandates of
18 ||paying overtime compensation, no exemption applies in the instant matter.
19 || Specifically, Plaintiffs employment with Defendant does not fall under the any
20 ||exemption provided for by law.

21 FIRST CLAIM FOR RELIEF

22 (For Declaratory Relief Against All Defendants)
23 29. Plaintiff incorporates the allegations of paragraphs 1-28 as though fully
24 | set forth.

25 30. Plaintiff contends that he is either sole owner of the copyright in the Film
76 Vora joint author thereof, and is therefore entitled to share in all of the benefits and
27 revenues derived therefrom. Upon information and belief, Defendants dispute these
8 contentions.

COMPLAINT FOR DAMAGES
5

 

 

 
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31. Plaintiff therefor seeks a declaration from this Court as to the rights and
3 obligations of the parties, now and in the future.

4 SECOND CLAIM FOR RELIEF

; (For An Accounting Against All Defendants)

6 32. Plaintiff incorporates the allegations of paragraphs 1-32 as though fully

7 || Set forth.

8 33. | Whether as a joint (or sole) author and/or pursuant to the Agreement,

g || Plaintiff is entitled to profits derived from the exploitation of the Film.

10 34. Plaintiff is informed and believes, and on that basis alleges that the
11 || budget to produce the Film was significantly inflated to include numerous illegitimate
12 |;and improper expenses, thereby depriving Plaintiff of his fair and reasonable profit
13 || participation.

14 35. Plaintiff therefor requests an accounting to determine what amounts are
15 |;owed to the Plaintiff.

16 THIRD CLAIM FOR RELIEF

17 (For Quantum Meruit Against All Defendants)

18 36. Plaintiff incorporates the allegations of paragraphs 1-35 as though fully
19 |i set forth.
20 37. Within the last two (2) years, Plaintiff has rendered significant services in
21 || connection with the Film for which he has not been paid, including spending ten (10)
22 I Wweeks in India rendering services as director (among other services performed) in
*3 || connection with the Film.
“4 38. Although those services were rendered at the instance and request of
25 FRIENDS MEDIA, they were also to the substantial benefit of LIONS GATE.
*6 Therefore, there is an agreement implied in law and in fact to pay Plaintiff the
7 reasonable value of his services.
°8 39. Consistent with custom and practice in the entertainment industry, the

COMPLAINT FOR DAMAGES
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Case 8:13-cv-00454-JLS-AN Document 1 Filed 03/19/13 Page 7 of 16 Page ID#:7

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reasonable value of Plaintiff's services is $500,000.00.
FOURTH CLAIM FOR RELIEF
(For Breach of Contract Against FRIENDS MEDIA)

set forth.

said Agreement is a covenant of good faith and fair dealing.

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19 || as excused by the conduct of Defendant.

40. Plaintiff incorporates the allegations of paragraphs 1-39 as though fully

41. Plaintiff and FRIENDS MEDIA entered into the Agreement. Implied in

42. Plaintiff performed all covenants and conditions required of him except

1] 43. Defendant breached the Agreement by inter alia, engaging in the acts and

12 |}omissions set forth hereinabove and in particular those alleged in paragraph 34. In

13 |;addition, Plaintiff has not been permitted to participate in any of the publicity or

14 ||recognition from the Film even though it has won multiple awards at various film

15 || festivals, and Plaintiff's right to make “final cut” has been violated.

16 44. Asa result of the foregoing, Plaintiff has been damaged in an amount

17 ||according to proof in excess of $1 million.

 

 

18 FIFTH CLAIM FOR RELIEF

19 (In the Alternative, For Recission Against FRIENDS MEDIA)

20 45. Plaintiff incorporates the allegations of paragraphs 1-44 as though fully
21 |i set forth.

22 46. Plaintiff seeks to rescind the Agreement pursuant to California Civil
23 Code §1689 on the grounds of inter alia, duress, mistake, and lack of consideration.

24 SIXTH CLAIM FOR RELIEF

25 (In the Alternative, For Failure to Pay Overtime Wages in Violation of 29 U.S.C.
26 § 207 Against FRIENDS MEDIA)

27

forth herein.

COMPLAINT FOR DAMAGES
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47. Plaintiff incorporates by reference all paragraphs above as if fully set

 
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48. In the alternative, at all relevant times herein, Plaintiff was employed
with Defendant and was subject to the provisions of the Fair Labor Standards Act of
4 1938 (“FLSA”), as amended, 29 U.S.C. § 201. Section 207(a)(1) of the FLSA requires
; all employees to be paid “at a rate not less than one and one-half times the regular rate
6 at which he is employed” for any work performed in excess of forty hours per
; workweek, unless specifically exempted by the law.

3 49. At all relevant times herein, Defendant had a policy and practice of
9 requiring Plaintiff to work in excess of forty hours per workweek without paying
10 Plaintiff one and one half times his regular rate of pay. Defendant was fully aware of
IH the hours worked by, and the duties assigned to, Plaintiff. By failing to pay Plaintiff
12 overtime compensation in compliance with the FLSA, Defendant violated Plaintiff s
13 || Fights under 29 U.S.C. § 207.

14 50. Throughout the course of his employment with Defendant, Plaintiff
15 || worked hundreds of unpaid regular and overtime hours, as well as repeated “double
16 ||time” hours. Notwithstanding such, Plaintiff has never been paid for hours worked in
17 |;excess of 40 during any workweek. Therefore, Plaintiff claims overtime wages for all
1g |;hours worked in excess of 40 throughout the course of his employment with
19 || Defendant.
20 51. Furthermore, on information and belief, Defendant knowingly, willfully,
21 |;and intentionally refused to pay Plaintiffs overtime wages, as required by the Fair
22 || Labor Standards Act.
23 52. Due to Defendant’s FLSA violations, Plaintiff is entitled to recover from
24 || Defendant: (1) unpaid overtime compensation; (ii) an additional equal amount as
25 || liquidated damages; (iii) reasonable attorney’s fees, and costs and disbursements of
26 || this action, pursuant to 29 U.S.C. § 216(b).
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COMPLAINT FOR DAMAGES
8

 

 

 
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SEVENTH CLAIM FOR RELIEF

3 (In the Alternative, For Failure to Pay All Straight Time and/or Overtime

4 Worked in Violation of California Labor Code §§ 510 and 1194 Against

; FRIENDS MEDIA)

‘ 53. Plaintiff incorporates by reference all paragraphs above as if fully set

4 forth herein.

; 54. In the alternative, during the course of Plaintiff's employment with

9 Defendant, Plaintiff was required and permitted to work shifts lasting over eight (8)
10 hours in duration, for which he was not paid overtime wages. Pursuant to California
i Labor Code § 510(a), an employer is required to pay at one and one-half (1.5) times
12 |{the regular rate of pay for “[a]ny work in excess of eight hours in one workday and
13 || any work in excess of 40 hours in any one workweek and the first eight hours worked
14 |{on the seventh day of work in any one workweek.”

15 55. In addition to working shifts that lasted over eight (8) hours in duration,
16 || Plaintiff was required to work in excess of eight (8) hours on any seventh day of a
17 || workweek. Pursuant to California Labor Code § 510(a), an employer is required to
18 || pay at twice the regular rate of pay of an employee for “any work in excess of eight
19 ||hours on any seventh day of a workweek.”
20 56. Pursuant to California Labor Code §§ 1194 and 1198, Plaintiff is
21 |/entitled to recover in a civil action the unpaid balance of the full amount of straight
22 |/time and overtime compensation owed to him, including interest thereon, liquidated
23 ||damages in an amount equal to the unpaid minimum wages, reasonable attorney’s
24 || fees, and costs of suit.
25 EIGHT CLAIM FOR RELIEF
26 || (In the Alternative, For Waiting Time Penalties Under California Labor Code §§
27 201 and 202 Against FRIENDS MEDIA)
28 57. Plaintiff incorporates by reference all paragraphs above as if fully set forth

COMPLAINT FOR DAMAGES
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' Case 8:13-cv-00454-JLS-AN Document1 Filed 03/19/13 Page 10o0f16 Page ID #:10

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herein.

58. California Labor Code § 201(a) requires an employer who discharges an
employee to pay compensation due and owing to said employee upon discharge.

59. California Labor Code § 203(a) provides that if an employer willfully
fails to pay compensation promptly upon discharge or resignation, as required under
California Labor Code § 201(a), the employer is liable for waiting time penalties in
the form of continued compensation for up to thirty (30) work days.

60. Alternatively, Defendant terminated Plaintiff's employment on or before
August 9, 2012, and has since failed to provide Plaintiff with all compensation due
and owing for work performed during the course of Plaintiff's employment. As a
direct and proximate result, Defendant is liable to Plaintiff for up to thirty (30) days of
waiting time penalties pursuant to California Labor Code § 203, together with interest
thereon.

61. Pursuant to Labor Code §§ 218, 218.5, and 218.6, Plaintiff is entitled to
recover the full amount of his unpaid wages, continuation wages under § 203(a),
interest thereon, reasonable attorney’s fees, and costs of suit.

NINTH CLAIM FOR RELIEF
(In the Alternative, For Unlawful Business Practices in Violation of California
Business & Professions Code § 17200 Against FRIENDS MEDIA)

62. Plaintiff incorporates by reference all paragraphs above as if fully set
forth herein.

63. Defendant failed to pay Plaintiff for hours worked, in violation of
California Labor Code §§223 and 510. Defendant also failed to provide Plaintiff with
timely, accurate, and itemized wage statements in violation of California Labor Code
§226. Finally, the acts previously complained of are also violative of state and federal

law.

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COMPLAINT FOR DAMAGES
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* Case 8:13-cv-00454-JLS-AN Document 1 Filed 03/19/13 Page 11o0f16 Page ID#:11

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64. Defendant’s failure to pay Plaintiff in a lawful manner constitutes false,
unfair, fraudulent and deceptive business practices, within the meaning of California
Business and Professions Code § 17200. Defendant knowingly, intentionally, and
fraudulently engaged in such unlawful payroll practices in order to save money and
increase profits.

65. Plaintiff has suffered economic harm and actual injury as a result of
Defendant's unlawful, unfair, and fraudulent business practices. As such, Plaintiff has
standing to bring this action.

66. As a direct and proximate result of the unfair business practices of
Defendant, Plaintiff is entitled to: (i) full restitution and/or disgorgement of all monies
and wages; (11) interest on the amount of restitution awarded; and (iii) attorney’s fees
under California Code of Civil Procedure § 1021.5.

PRAYER FOR RELIEF
WHEREFORE, as a proximate, legal, and substantial cause of Defendant’s acts

and omissions above, Plaintiff prays for the following remedies:

1. For a declaration of the Parties’ rights and obligations;

2. For an accounting;

3, For the reasonable value of services in excess of $500,000.00;

4, For damages in excess of $1 million;

5. For recission of the Agreement and restitution;

6. An award of unpaid wages to Plaintiff;

7. An award of unpaid overtime compensation to Plaintiff;

8. An award of liquidated damages pursuant to the FLSA, as a result of

Defendant's willful failure to pay appropriate wages;
9, Waiting time penalties pursuant to Califomia Labor Code § 203, together
with interest thereon.

10. An award of pre-judgment and post-judgment interest to Plaintiff;

COMPLAINT FOR DAMAGES
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* Case 8:13-cv-00454-JLS-AN Document 1 Filed 03/19/13 Page 12 of 16 Page ID #:12

11. An award of costs and expenses of this action, together with reasonable

attorney’s fees to Plaintiff; and

12. Such other and further relief as this Court deems just and proper.

DATED: March 19, 2013

DATED: March 19, 2013

SANTIAGO RODNUNSKY & JONES

Dew Dore

DAVID G. JONES
Attorneys for Plaixtiff
JON VAN D

LO W, P.C.

 

STEVEN T. LOWE

Attorneys for Plaintiff
JON V DYKE

DEMAND FOR JURY TRIAL
Plaintiff hereby demands a trial by jury in the instant action on all issues to

which he is entitled to a jury.

DATED: March 19, 2013

SANTIAGO RODNUNSKY & JONES

Dae Dare

DAVID G. JONE
Attorneys for Plaisti
JON V DYKE

COMPLAINT FOR DAMAGES

12

 
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Josephine Tucker and the assigned
discovery Magistrate Judge is Arthur Nakazato.

The case number on all documents filed with the Court should read as follows:

SACV13- 454 JST (ANx)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOTICE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
filed, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

LJ Western Division Southern Division LJ Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Angeles, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

CV-18 (03/06) NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY
Document 1 Filed 03/19/13 P 140f16 Page ID#:14

Case 8:13-cv-00454-JLS-;

 
    

Name & Address:

David G. Jones, Bar No. 186507

Santiago Rodnunsky & Jones

5959 Topanga Canyon Boulevard, Suite 220
Woodland Hills, California 91367

TEL: (818) 884-3400 FAX: (818) 593-7086

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER

 

JON VAN DYKE, an Individual,

PLAINTIFF(S)

v. SACWIR454-TST (ANN

LIONS GATE ENTERTAINMENT INC,. a )
Corporation; FRIENDS MEDIA, LLC, a Limited
Liability Company; and DOES | through 20, Inclusive, SUMMONS

DEFENDANT(S).

 

 

TO: DEFENDANT(S):

A lawsuit has been filed against you.

Within 21 __ days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached i complaint O amended complaint
[J counterclaim 0 cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff's attorney, David G. Jones , whose address is
5959 Topanga Canyon Blvd., Suite 220, Woodland Hills, CA 91367 . If you fail to do so,
judgment by default will be entered against you for the relief demanded in the complaint. You also must file
your answer or motion with the court.

Clerk, U.S. District Court ee mee

  
 

MAR 19 2013

Dated: By: MARILYN BAVIS z Ba

Deputy Clerk

  

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VOREN

(Seal of the Court)

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States. Allowed
60 days by Rule 12(a)(3)].

 

CV-OLA (10/11 SUMMONS
Case 8:13-cv-00454-JLS-AN Document 1 Filed 03/19/13 Page 15 of 16 Page4D.#:15

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

 

CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if you are representing yourself O) DEFENDANTS
JON VAN DYKE, an Individual LIONS GATE ENTERTAINMENT INC, a Corporation, FRIENDS MEDIA,

LLC, a Limited Liability Company; and DOES | through 20. Inclusive,

 

(b) Attomeys (Firm Name, Address and Telephone Number. If you are representing Attorneys (If Known)
yourself, provide same.)

Santiago Rodnunsky & Jones, 5959 Topanga Canyon Boulevard, Suite 220,
Woodland Hills, CA 91367; Ph: (818) 884-3400

 

 

 

 

David G. Jones
II. BASIS OF JURISDICTION (Place an X in one box only.) HE CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
O1U-S. Government Plaintiff ¥3 Federal Question (U.S. PTF DEF PTF DEF
Goverment Not a Party) Citizen of This State 1 OF} Incorporated or Principal Place O4 O14
of Business in this State
O2U.S. Government Defendant (4 Diversity (Indicate Citizenship | Citizen of Another State O2 2 __ Incorporated and Principal Place O5 5
of Parties in Item IH) of Business in Another State
Citizen or Subject of a Foreign Country 03 03 Foreign Nation O6 O06
IV. ORIGIN (Place an X in one box only.)
1 Original O12 Removed from 3 Remanded from 4 Reinstatedor (15 Transferred from another district (specify); (6 Multi- O7 Appeal to District
Proceeding State Court Appellate Court Reopened District Judge trom
Litigation Magistrate Judge

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: i Yes (1 No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under F.R.C.P. 23: G Yes No wf MONEY DEMANDED IN COMPLAINT: §,1,500,000.00

 

VL CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
28 U.S.C. §1338, Copyright Laws; 29 U.S.C. §207, Failure to Pay Overtime Wages

VII. NATURE OF SUIT (Place an X in one box only.)

 

OTHER STATUTES CONTRACT TORTS TORTS PRISONER LABOR

400 State Reapportionment |O110 Insurance PERSONAL INJURY PERSONAL PETITIONS (4 710 Fair Labor Standards

(J 410 Antitrust 0 120 Marine 6310 Airplane PROPERTY (1510 Motions to Act

2 430 Banks and Banking 11130 Miller Act £1315 Airplane Product {370 Other Fraud Vacate Sentence |{1 720 Labor/Memt.

(1450 Commerce/ICC 140 Negotiable Instrument Liability (1371 Truth in Lending Habeas Corpus Relations
Rates/etc. 0150 Recovery of [2320 Assault, Libel & 1 380 Other Personal | 530 General 0730 Labor/Memt.

O 460 Deportation Overpayment & Slander , Property Damage JC] 535 Death Penalty Reporting &

1470 Racketeer Influenced Enforcement of 1330 Fed. Employers’ — iry 335 Property Damage {0 540 Mandamus/ Disclosure Act
and Corrupt Judgment C340 xeuly Product Liability Other (2.740 Railway Labor Act
Organizations CJ 151 Medicare Act 61345 Marine Product BANKRUPTCY (1550 Civil Rights 0790 Other Labor

(1 480 Consumer Credit 152 Recovery of Defaulted Liability €) 422 Appeal 28 USC | 555 Prison Condition Litigation

0 490 Cable/Sat TV Student Loan (Excl. [3350 Motor Vehicle 158 FORFEITURE / O79) Empl. Ret. Inc

0 810 Selective Service Veterans) £1355 Motor Vehicle (1423 Withdrawal 28 PENALTY Security Act

0 850 Securities/Commodities/|0 153. Recovery of Product Liability USC 157 0610 Agriculture PROPERTY RIGHTS
Exchange Overpayment of 11360 Other Personal CIVIL RIGHTS (1620 Other Food & 820 Copyrights

875 Customer Challenge 12 Veteran's Benefits Injury O 441 Voting Drug (3 830 Patent
USC 3410 0160 Stockholders’ Suits (1362 Personal Irury- |U 442 Employment (1625 Drug Related 01 840 Trademark

© 890 Other Statutory Actions {0 190 Other Contract Med Malpractice |£1 443 Housing/Acco- Seizure of SOCIAL SECURITY

C7891 Agricultural Act (1195 Contract Product (2365 Personal Injury- mmodations Property 21 USC [7 861 HIA (1395ff)

<7 892 Economic Stabilization Liability Product Liability | 444 Welfare B81 ()] 862 Black Lung (923)
Act (7196 Franchise (3368 Asbestos Personal [[2445 American with |[ 630 Liquor Laws 0 863 DIWC/DIWW

£3893 Environmental Matters REAL PROPERTY Injury Product Disabilities - (1640 RR. & Truck (405(g))

[7 894 Energy Allocation Act |] 210 Land Condemnation Liability Employment 0650 Airline Regs 0 864 SSID Tile XVI

0 895 Freedom of Info. Act (1220 Foreclosure IMMIGRATION (0446 American with {C1 660 Occupational {3 865 RSI (405(g))

(4900 Appeal of Fee Determi- J[] 230 Rent Lease & Ejectment {0 462 Naturalization Disabilities - Safety /Health FEDERAL TAX SUITS
nation Under Equal 0240 Torts to Land Application Other (1690 Other 0 870 Taxes (U.S. Plaintet
Access to Justice (1245 Tort Product Liability |€1463 Habeas Corpus- | 440 Other Civil or Defendant)

1.950 Constitutionality of (3290 All Other Real Property Alien Detainee Rights 871 IRS-Third Party 26
State Statutes (3465 Other Immigration USC 7609

Actions

 

 

 

 

 

 

 

FOR OFFICE USE ONLY: Case Number: SA C y {3 ] 54

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

 

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UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

VIN (a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? WNo Yes
If yes, list case number(s):

 

VIIN(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No O Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) © A. Anse from the same or closely related transactions, happenings, or events; or
{2 B. Call for determination of the same or substantially related or similar questions of law and fact; or
OC. For other reasons would entail substantial duplication of labor if heard by different judges; or
OD. Involve the same patent, trademark or copyright, and one of the factors identified above in a, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
(Check here if the government, its agencies or employees is a named plaintiff If this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than California, or Foreign Country

 

Orange

 

(b) List the County in this District; California County outside of this District, State if other than California; or Foreign Country, in which EACH named defendant resides.
Oi __Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Lions Gate Entertainment Inc.: Los Angeles
Friends Media, LLC: Orange

 

 

 

 

(c) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District; State, if other than California: or Foreign Country

 

Los Angeles
Orange

 

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of the tract of land involved

X. SIGNATURE OF ATTORNEY (OR PRO PER): awe Date March 19, 2013
a
Notice to Counsel/Parties:. The CV-71 (JS-44) Civil Cover Sheet and nif contained herein neither replace nor supplement the filing and service of pleadings

or other papers as required by law. This form, approved by the Judicial Con ce of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but ts used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code — Abbreviation Substantive Statement of Cause of Action

861 UIA All claims for health msurance benefits (Medicare) under Title 18. Part A_ of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilites, ete . for certificanion as providers of services under the
program. (42U S.C 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B. of the Federal Coal Mine Health and Safety Act of 1969
(30 U S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benetits based on disability (42 U S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act. as amended (42
USC (g)}

 

CV-71 (05/08) CIVIL COVER SHEET Pape 2 of 2

 
